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                                       UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF ILLINOIS
           In re:
                                                                       Bankruptcy No: 21-10360
           YERRE'ESTO PATTON
           ANTOINETTE MICHELLE PATTON                                  Chapter: 13

                                              Debtor(s),               Judge: Honorable Deborah L. Thorne



 Hearing Date & Time: September 29, 2021 at 1:30 pm
 Objection Deadline: September 23, 2021

                                               NOTICE OF MOTION
           TO: Marshall, Marilyn O., Trustee & Attached Service List
              Yerre'esto Patton
              Antoinette Patton

              PLEASE TAKE NOTICE that on September 29, 2021 at 1:30 pm, or on a subsequent date fixed by the
           clerk of this Court, I shall appear before the Honorable Deborah L. Thorne, or any other judge that may be
           assigned and present the Motion to Extend the Automatic Stay, a copy of which is attached.
              This motion will be presented and heard telephonically. No personal appearance in court is necessary or
           permitted. To appear and be heard telephonically before Judge Thorne, follow these instructions:
                         To join by video go to this website: https://www.zoomgov.com/ Meeting ID: 160 9362 1728
                         Passcode: None Required Or you may join by phone: (669) 254-5252 or (646) 828-7666
                         Use the Meeting ID and Passcode above.

              If you object to this motion and want it called on the presentment date above, you must file a Notice of
           Objection no later than two (2) business days before that date. If no Notice of Objection is timely filed, the
           court may grant the motion in advance without a hearing.
           DATED: September 09, 2021
                                                                   FONFRIAS LAW GROUP, LLC

                                                                        /s/ Richard G. Fonfrias
                                                                        Richard G. Fonfrias
                                                                        125 S Wacker Dr., #300,
                                                                        Chicago, IL 60606
                                                                        Phone: 312-969-0730
                                                                        Email: richprivatemail@protonmail.com




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           Richard G. Fonfrias, Esq.
           FONFRIAS LAW GROUP, LLC
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           Chicago, IL 60606
           Phone: 312-969-0730
           Email: richprivatemail@protonmail.com
           Attorney for Debtor(s)

                                       UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF ILLINOIS
           In re:
                                                                      Bankruptcy No: 21-10360
           YERRE'ESTO PATTON
           ANTOINETTE PATTON                                          Chapter: 13

                                              Debtor(s),              Judge: Honorable Deborah L. Thorne



                                  Hearing Date and Time: September 29, 2021 at 1:30 pm.
                                         Objection Deadline: September 29, 2021

                               DEBTOR MOTION TO EXTEND THE AUTOMATIC STAY

           COMES NOW, the above-named Debtor(s), by and through undersigned counsel, to hereby file this Motion
           to Extend the Automatic Stay.
                    1. On September 05, 2021, Debtor(s) filed for relief under Chapter 13 in THE NORTHERN
                    DISTRICT OF ILLINOIS.
                    2. On August 13, 2018, Debtor(s) filed a case under Chapter 13 which was subsequently dismissed
                    within a year prior to September 05, 2021. The case number of this prior filing is: 18-22837.
                    3. Pursuant to 11 USC §362(c)(3) Debtor may request an order for the automatic stay to be continued
                    or extended.
                    4. Because of the COVID-19 pandemic, Debtor's income was reduced in late 2020 and early 2021.
                    During that time, he fell behind on the mortgage payments due to creditor New York Bank Mellon.
                    Debtor used the tax refund that was otherwise due to the trustee to pay approximately $2,300 to the
                    creditor to catch up on mortgage payments. The trustee filed a motion to dismiss the case because of
                    the tax refund not being turned over.
                    5. Debtor's income has increased slightly and he and the Joint Debtor are now able to pay the
                    mortgage payments that come due as well as the Chapter 13 plan payment that is due in the new case.


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                6. Debtors have prepared documents for the trustee in this new case and have prepared their first plan
                payment for the trustee.
                7. Debtors have attached to this motion a declaration of Debtor attesting to the above.

           WHEREFORE, Debtor(s) request this Court grant this Motion to Extend the Automatic Stay as to all
           creditors.
           DATED: September 09, 2021

                                                                      /s/ Richard G. Fonfrias
                                                                      RICHARD G. FONFRIAS
                                                                      Attorney for Debtor(s)




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